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              EXHIBIT 8
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                                 HIGHLY CONFIDENTIAL

                                                                    Page 1

   1
   2                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
   3                                 ALEXANDRIA DIVISION
                  _____________________
   4
                  UNITED STATES,              )Case No.
   5              et al.,                     )1:23-cv-00108-LMB-JFA
                                              )
   6                  Plaintiffs,             )
                                              )
   7              vs.                         )
                                              )
   8              GOOGLE LLC,                 )
                                              )
   9                  Defendant.              )
                  _____________________)
  10
  11
                                 - HIGHLY CONFIDENTIAL -
  12
  13                        VIDEOTAPED 30(b)(6) DEPOSITION OF
  14                            UNITED STATES CENSUS BUREAU
  15                             through the testimony of
  16                                    Kendall Oliphant
  17                                  September 27, 2023
  18                                          9:39 a.m.
  19
  20
  21
                  Reported by:     Bonnie L. Russo
  22              Job No. 6097939

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                                           HIGHLY CONFIDENTIAL
                                                      Page 2                                                      Page 4
       1         Videotaped 30(b)(6) Deposition of           1       APPEARANCES (CONTINUED):
       2    United States Census Bureau through the          2
       3    testimony of Kendall Oliphant held at:           3       Also Present:
       4                                                     4       Michael A. Cannon, United States Department of
       5                                                     5       Commerce, Chief Counsel for Economic Affairs
       6    Paul, Weiss, Rifkind, Wharton & Garrison, LLP    6       Sam Whitthorne, DOJ, Paralegal
       7            2001 K Street, N.W.                      7       Claire Cushman, DOJ, Paralegal
       8            Washington, D.C.                         8       Orson Braithwaite, Videographer
       9                                                     9
      10                                                    10       Also Present Via Remotely:
      11                                                    11       Rachel Zwolinski, United States Department of
      12                                                    12       Justice
      13                                                    13
      14                                                    14
      15                                                    15
      16                                                    16
      17                                                    17
      18    Pursuant to Notice, when were present on behalf 18
      19    of the respective parties:                      19
      20                                                    20
      21                                                    21
      22                                                    22
                                                      Page 3                                                      Page 5
                                                                1            INDEX
        1   APPEARANCES:
                                                                2   EXAMINATION OF KENDALL OLIPHANT              PAGE
        2                                                       3   BY MS. GOODMAN             10
        3   On behalf of the Plaintiffs:                        4   BY MR. LIU            109
                                                                5
        4    VICTOR LIU, ESQUIRE                                6
        5    KATHERINE CLEMONS, ESQUIRE                         7
                                                                8            EXHIBITS
        6    ALVIN CHU, ESQUIRE                                 9
        7    UNITED STATES DEPARTMENT OF JUSTICE               10   Exhibit 145    Amendment of          22
                                                                              Solicitation/Modification
        8    450 Fifth Street, N.W.                            11             of Contract
        9    Washington, D.C. 20530                                           11-21-18
                                                               12             CENSUS-ADS-0000073778-786
       10    victor.liu@usdoj.gov
                                                               13   Exhibit 146    E-Mail Chain         28
       11    katherine.clemons@usdoj.gov                                      dated 6-25-20
                                                               14             Attachment
       12    alvin.chu@usdoj.gov
                                                                              CENSUS-ADS-0000668928-941
       13                                                      15
       14   On behalf of the Defendant:                             Exhibit 147    E-Mail Chain     36
                                                               16             dated 4-12-18
       15    MARTHA L. GOODMAN, ESQUIRE                                       Attachment
       16    ANNELISE CORRIVEAU, ESQUIRE                       17             CENSUS-ADS-0000475977-018
                                                               18   Exhibit 148    2020 Census Paid  47
       17    PAUL, WEISS, RIFKIND,                                            Media Campaign
       18    WHARTON & GARRISON, LLP                           19             Fact Sheet
                                                                              CENSUS-ADS-0000052132-134
       19    2001 K Street, N.W.                               20
       20    Washington, D.C. 20006                                 Exhibit 149  Y&R Invoices        63
                                                               21             CENSUS-ADS-0000347549-692
       21    mgoodman@paulweiss.com
                                                               22   Exhibit 150  Y&R Purchase Orders    78
       22    acorriveau@paulweiss.com                                         CENSUS-ADS-0000350928-963

                                                                                                         2 (Pages 2 - 5)
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                                           HIGHLY CONFIDENTIAL
                                                   Page 6                                                        Page 8
       1    EXHIBITS (CONTINUED):                            1              PROCEEDINGS
       2    Exhibit 151  Y&R Invoices      84
                                                             2               (9:39 a.m.)
                      CENSUS-ADS-0000316495-533
       3                                                     3
            Exhibit 152   Integrated Communications 92       4            THE VIDEOGRAPHER: Good morning.
       4              Contract                               5           We are going on the record at
                      Order 18
       5              12-1-20                                6   a.m. on September 27, 2023.
                      CENSUS-ADS-0000366100-354              7           Please note that the microphones
       6                                                     8   are sensitive and may pick up whispering and
            Exhibit 153    E-Mail Chain   99
                                                             9   private conversations. Please mute your phones
       7              dated 3-3-21
                      CENSUS-ADS-0000687538-586             10   at this time. Audio and video recording will
       8                                                    11   continue to take place unless all parties agree
       9                                                    12   to go off the record.
      10
                                                            13           This is Media Unit 1 of the
      11
      12                                                    14   video-recorded deposition of Ms. Kendall
      13                                                    15   Oliphant in the matter of United States, et
      14                                                    16   al., versus Google LLC filed in the United
      15
      16                                                    17   States District Court, Eastern District of
      17                                                    18   Virginia, Alexandria Division, Case
      18                                                    19   No. 1:23-cv-00108-LMB-JFA.
      19
                                                            20          My name is Orson Braithwaite
      20
      21                                                    21   representing Veritext Legal Solutions, and I am
      22                                                    22   the videographer. The court reporter is Bonnie
                                                   Page 7                                                        Page 9
        1   PREVIOUSLY MARKED EXHIBITS:                      1   Russo from the firm Veritext Legal Solutions.
        2                                                    2         Counsel will now state their
            Exhibit 21 Award/Contract
                                                             3   appearances and affiliations for the record.
        3          8-24-19
        4   Exhibit 23 Order 15: Media Buying                4         MS. GOODMAN: Martha Goodman of Paul
                   Process for Census PMO                    5   Weiss for Defendant Google. I am joined by my
        5                                                    6   colleague, Annelise Corriveau.
            Exhibit 27 E-Mail Chain dated 9-2-22             7         MR. LIU: Victor Liu from the United
        6          Attachment
                                                             8   States Department of Justice on behalf of the
        7   Exhibit 32 Order for Supplies or
                   Services                                  9   United States, including the United States
        8          11-21-18                                 10   Census Bureau.
        9                                                   11         MS. CLEMONS: Katherine Clemons,
       10                                                   12   Department of Justice.
       11                                                   13         MR. CHU: Alvin Chu, Department of
       12
                                                            14   Justice.
       13
       14                                                   15         MR. CANNON: Michael Cannon, U.S.
       15                                                   16   Department of Commerce.
       16                                                   17         MR. WHITTHORNE: Sam Whitthorne,
       17                                                   18   paralegal with the Department of Justice.
       18
                                                            19         MS. CUSHMAN: Claire Cushman,
       19
       20                                                   20   paralegal with the Department of Justice.
       21                                                   21         THE VIDEOGRAPHER: Thank you.
       22   (Exhibits bound separately.)                    22         Will the court reporter please swear

                                                                                                       3 (Pages 6 - 9)
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                                            HIGHLY CONFIDENTIAL
                                                     Page 106                                                       Page 108
       1    whether it had a choice as to whether to             1   knowledge?
       2    participate in the lawsuit brought by the            2      A. Not to the census bureau's
       3    Department of Justice, correct?                      3   knowledge, no.
       4            MR. LIU: Objection. Form.                    4      Q. What facts is the census bureau
       5    Foundation. Calls for a legal conclusion.            5   aware of regarding Google's alleged
       6            THE WITNESS: The census bureau               6   monopolization?
       7    participates in any requests. They -- they           7          MR. LIU: Objection. Privileged.
       8    respond to requests by the Department of             8          To -- to the extent that you can
       9    Justice.                                             9   answer without revealing attorney-client
      10            If that request turns into                  10   communications or directions of attorneys, you
      11    litigation, we support them with whatever           11   may answer.
      12    documentation they need.                            12          THE WITNESS: Can you clarify,
      13            BY MS. GOODMAN:                             13   please.
      14        Q. I appreciate that you support the            14          BY MS. GOODMAN:
      15    Department of Justice with whatever documents       15      Q. What facts, if any, is the census
      16    they need.                                          16   bureau aware of regarding Google's alleged
      17            My question is different which is           17   monopolization other than those learned through
      18    simply whether the census bureau has a choice       18   interactions with counsel?
      19    as to whether to participate in this lawsuit as     19          MR. LIU: Same objection.
      20    a federal agency for which the Department of        20          Same instruction.
      21    Justice is seeking money damages.                   21          THE WITNESS: None.
      22            MR. LIU: Objection. Form.                   22          MS. GOODMAN: Let's go off the
                                                     Page 107                                                       Page 109
        1   Foundation. Calls for a legal conclusion.            1   record.
        2          THE WITNESS: I don't know.                    2          THE VIDEOGRAPHER: The time is
        3          BY MS. GOODMAN:                               3   a.m. This ends Unit 2. We're off the record.
        4      Q. Meaning the census bureau does not             4          (A short recess was taken.)
        5   know?                                                5          THE VIDEOGRAPHER: The time is
        6      A. The census bureau does not know.               6   a.m. We're on the record.
        7      Q. Okay. When -- strike that.                     7          MS. GOODMAN: Thank you, Ms.
        8          Did the census bureau conduct any             8   Oliphant.
        9   investigation of alleged misconduct by Google        9          I pass the witness.
       10   prior to its participation in this lawsuit as a     10          MR. LIU: Thank you. Thanks, Ms.
       11   federal agency for which the Department of          11   Oliphant. I just have one question.
       12   Justice is seeking money damages?                   12      EXAMINATION BY COUNSEL FOR PLAINTIFF
       13          MR. LIU: Objection. Privilege.               13          BY MR. LIU:
       14          To the extent that your answer would         14     Q.      Could census's subcontractors have
       15   divulge attorney-client communications or           15   used a platform other than Google DV360 to
       16   directions from attorneys, I would instruct you     16   order programmatic advertising without
       17   not to answer. But if your answer would not         17   discussing it first with census?
       18   divulge those things, feel free to respond.         18          MS. GOODMAN: Objection to form.
       19          THE WITNESS: Not to my knowledge,            19          THE WITNESS: No, they couldn't have
       20   no.                                                 20   because, in their proposal for Order 15 that
       21          BY MS. GOODMAN:                              21   was accepted, they specifically stated that
       22      Q. And not to the census bureau's                22   would be the platform they would use. So if

                                                                                                   28 (Pages 106 - 109)
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                                           HIGHLY CONFIDENTIAL
                                                   Page 110                                                       Page 112
       1   they used anything other than that, it would be     1 MARTHA L. GOODMAN, ESQUIRE
       2   in violation of that particular contract.           2 mgoodman@paulweiss.com
                                                               3                  September 28, 2023
       3          MR. LIU: Thank you. No further
                                                               4 RE: United States, Et Al v. Google, LLC
       4   questions.
                                                               5     9/27/2023, Kendall Oliphant (#6097939)
       5          MS. GOODMAN: Off the record.                 6     The above-referenced transcript is available for
       6          THE VIDEOGRAPHER: The time is                7 review.
       7   a.m. We are off the record.                         8     Within the applicable timeframe, the witness should
       8          (Pause.)                                     9 read the testimony to verify its accuracy. If there are
       9          THE VIDEOGRAPHER: The time is               10 any changes, the witness should note those with the
                                                              11 reason, on the attached Errata Sheet.
      10   a.m. We're on the record.
                                                              12     The witness should sign the Acknowledgment of
      11          MS. GOODMAN: I think we were on the
                                                              13 Deponent and Errata and return to the deposing attorney.
      12   record for 1 hour, 59 minutes, yes?                14 Copies should be sent to all counsel, and to Veritext at
      13          THE VIDEOGRAPHER: Yes.                      15 erratas-cs@veritext.com.
      14          MS. GOODMAN: Okay. Off the record.          16
      15          THE VIDEOGRAPHER: The time is               17 Return completed errata within 30 days from
      16   a.m. We're off the record.                         18 receipt of testimony.
      17          (Whereupon, the proceeding was              19 If the witness fails to do so within the time
                                                              20 allotted, the transcript may be used as if signed.
      18   concluded at 11:56 a.m.)
                                                              21
      19
                                                              22            Yours,
      20                                                      23            Veritext Legal Solutions
      21                                                      24
      22                                                      25
                                                   Page 111                                                       Page 113
       1             CERTIFICATE OF NOTARY PUBLIC              1 United States, Et Al v. Google, LLC
       2         I, Bonnie L. Russo, the officer before        2 Kendall Oliphant (#6097939)
       3   whom the foregoing deposition was taken, do         3           ERRATA SHEET

       4   hereby certify that the witness whose testimony     4 PAGE_____ LINE_____ CHANGE________________________
                                                               5 __________________________________________________
       5   appears in the foregoing deposition was duly
                                                               6 REASON____________________________________________
       6   sworn by me; that the testimony of said witness
                                                               7 PAGE_____ LINE_____ CHANGE________________________
       7   was taken by me in shorthand and thereafter
                                                               8 __________________________________________________
       8   reduced to computerized transcription under my      9 REASON____________________________________________
       9   direction; that said deposition is a true          10 PAGE_____ LINE_____ CHANGE________________________
      10   record of the testimony given by said witness;     11 __________________________________________________
      11   that I am neither counsel for, related to, nor     12 REASON____________________________________________
      12   employed by any of the parties to the action in    13 PAGE_____ LINE_____ CHANGE________________________
      13   which this deposition was taken; and further,      14 __________________________________________________
      14   that I am not a relative or employee of any        15 REASON____________________________________________

      15   attorney or counsel employed by the parties        16 PAGE_____ LINE_____ CHANGE________________________
                                                              17 __________________________________________________
      16   hereto, nor financially or otherwise interested
                                                              18 REASON____________________________________________
      17   in the outcome of the action.
                                                              19 PAGE_____ LINE_____ CHANGE________________________
      18
                                                              20 __________________________________________________
      19                                                      21 REASON____________________________________________
                 <%11937,Signature%>                          22
      20          Notary Public in and for                    23 ________________________________ _______________
      21          the District of Columbia                    24 Kendall Oliphant               Date
      22   My Commission expires: August 14, 2025             25

                                                                                                   29 (Pages 110 - 113)
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